  Case 1:22-cv-00363-CJB Document 21 Filed 06/10/22 Page 1 of 1 PageID #: 68




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

THE BOSTON CONSULTING GROUP, INC.,
a Massachusetts corporation,

                        Plaintiff,

              v.                                          C.A. No. 1:22-00363-CJB

GAMESTOP CORPORATION, a Delaware
corporation,

                        Defendant.


              DEFENDANT GAMESTOP CORP.’S MOTION TO DISMISS

       Under Federal Rule of Civil Procedure 12(b)(6), defendant GameStop Corp. hereby

moves to dismiss the above-captioned action with prejudice. A concurrently filed opening brief

supports this motion.

                                              /s/ John M. Seaman
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Dated: June 10, 2022                          Attorneys for Defendant GameStop Corp.
